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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 BYRON TAYLOR, TERRAINE R.
 DENNIS, KENNETH HUNTER,
 KENDALL MATTHEWS, and LONNIE                       CASE NO. 2:19-cv-10635-ILRL-JVW
 TREAUDO, on Behalf of Himself and on
 Behalf of All Others Similarly Situated,           JUDGE IVAN L.R. LEMELLE

         Plaintiff,                                 MAG. JANIS VAN MEERVEED

 V.

 HD AND ASSOCIATES, LLC, and JOHN
 DAVILLIER

         Defendants.


PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AS A COLLECTIVE
          ACTION AND NOTICE TO POTENTIAL CLASS MEMBERS

         Plaintiffs, Byron Taylor Terraine R. Dennis, Kenneth Hunter, Kendall Matthews, and

Lonnie Treaudo, individually and on behalf of all others similarly situated, request this Honorable

Court to enter an Order conditionally certifying this case as a Collective Action; and authorizing,

under Court Supervision, Plaintiff’s proposed Notice and Consent Form pursuant to Section 216(b)

of the Fair Labor Standards Act (“FLSA”). The putative class to which Plaintiff seeks to facilitate

notice consists of all individuals who:

      (1) Worked for HD and Associates, LLC (“HD”) at any time during the past three years; and

      (2) Worked as a technician providing cable repair and installation services on behalf of HD.

         This Motion is supported by Plaintiff’s Memorandum in Support of Motion for Conditional

Certification and Court-Authorized Notice Pursuant to Section 216(b) of the FLSA, and the

declaration of Byron Taylor (Exhibit 1).
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       WHEREFORE, for all the reasons discussed and supporting law referenced in Plaintiff’s

Memorandum attached hereto, Plaintiff respectfully requests this Honorable Court enter Plaintiff’s

attached Proposed Order and: (1) conditionally certify this case as a Collective Action; (2) order

HD to produce to Plaintiff’s counsel a computer-readable data file containing all Putative Class

Members’ names, last-known addresses, e-mail addresses, telephone numbers, and dates of

employment/work within twenty-one (21) days from the date of the Order; (3) authorize the

issuance of Plaintiff’s proposed Notice and attached Consent Form (attached as Exhibit 2) to all

Putative Class Members; (4) authorize the use of text message to provide notice to Putative Class

Members; (5) authorize a notice period allowing Putative Class Members ninety (90) days from

the date the Notice is sent out to submit their Consents to join with Plaintiff’s counsel; (6) posting

of the notice, along with the consent forms, in conspicuous locations at all of HD’s locations; and

(7) an Order prohibiting retaliation by HD or its managers against individuals who opt-in to this

lawsuit.

                                               Respectfully Submitted:

                                               /s/ Ryan P. Monsour
                                               __________________________________________
                                               GEORGE B. RECILE (#11414)
                                               PRESTON L. HAYES (#29898)
                                               RYAN P. MONSOUR (#33286)
                                               ZACHARY R. SMITH (#37316)
                                               Chehardy, Sherman, Williams, Murray, Recile,
                                               Stakelum & Hayes, L.L.P.
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                                               Counsel for Plaintiff




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                                       CERTIFICATE

       I certify that I have served a copy of the above and foregoing pleading using this Court’s
CM/ECF system to counsel of record participating in the CM/ECF system, or by placing signed
copies in the United States mail, postage prepaid, to counsel of record not participating in the
CM/ECF system on this 8th day of November, 2019.

                                            /s/ Ryan P. Monsour
                                            __________________________________________




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